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                                                 MEMO ENDORSED           ELECTRONICALLY FILED
                                                                         DOC #:
                                                                         DATE FILED: 1/27/2021
Your ref   1:20-cv-9692-VEC

Our ref    896138

                                                                                                     120 Mountain View Boulevard
                                                                                                     Post Office Box 650
                                                                                                     Basking Ridge, NJ 07920
           The Honorable Valerie Caproni                                                             USA
           United States District Judge                                                              t +1 908.848.6300
           Southern District of New York                                                             f +1 908.647.8390
           40 Foley Square                                                                           kennedyslaw.com
           New York, New York 10007                                                                  t +1 908 605 2916

                                                                                                     John.Orzel@kennedyslaw.com
           Re: Savino Del Bene, U.S.A, Inc. v.
                                                                                                     27 January 2021
               Commercial Lynks, Inc.
               20-cv-9692-VEC

           Dear Judge Caproni:



           We are attorneys representing Plaintiff, Savino Del Bene U.S.A., Inc. (“Savino”) in the above
           captioned matter and refer to the several attempts made by Chambers to contact me with
           regard to this Friday’s Pre-Trial Conference. I apologize to the Court for my apparent
           disappearance and my failure to provide the Court with the Ordered joint letter and proposed
           Case Management Plan by January 21, 2021. While it is certainly no excuse, by way of
           explanation, I have been sick now for over two weeks with something that has kept me mostly
           bedridden. Generally, my absence would have been noted and arrangements would have been
           made to address all of my scheduled deadlines. Having been working from home, outside of
           Buffalo, since March, my absence went unnoticed. The responsibility is mine and I failed to
           ensure that my commitments were covered. I hope that my delay has not inconvenienced the
           Court.

           As the Court will note, we effected service on the Defendant, Commercial Lynks, Inc., on
           January 15, 2021. We have been contacted by Commercial Lynks’ counsel who has requested a
           twenty (20) day extension of time in which to answer and/or move with regard to the complaint.
           With the Court’s permission, I would like to extend that courtesy. That would make Defendant’s
           responsive pleadings due on February 5, 2021. We would also ask that the Court adjourn the
           initial Pre-Trial Conference to a date after February 5, 2021. Further, we ask that the Court
           adjourn the date by which the joint letter and Case Management Plan is due to a date convenient
           for the Court to coincide with the adjourned date for the Pre-Trial Conference.



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           United Arab Emirates, United States of America.
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       Savino Del Bene v. Commercial Lynks
       20-cv-9692-VEC




       We thank the Court for its consideration of this request and again, I apologize to the Court and
       Chambers for my absence over the past two weeks.

       Respectfully,

       /S/ John A. Orzel

       John A. Orzel
       Partner
       for Kennedys CMK, LLP.




       cc:      Robert Ernest, Esq.
                Nicholas J. Nesgos, Esq.
                Arent Fox
                Counsel for Commercial Lynks, Inc.

The initial pretrial conference currently scheduled for Friday, January 29, 2021 at 3:00 P.M. is hereby adjourned
to Friday, February 12, 2021, at 11:30 A.M. All parties and any interested members of the public must attend
by dialing 1-888-363-4749, using the access code 3121171, and the security code 9692. All attendees are
advised to mute their phones when not speaking and to self-identify each time they speak. Recording or
rebroadcasting the proceeding is strictly prohibited by law.

Pre-conference submissions are due no later than Thursday, February 4, 2021. The parties should consult the
Court's January 7, 2021 Order for information about the required pre-conference submissions. See Dkt. 7.

Plaintiff's request that Defendant's time to answer the Complaint be extended by 20 days is GRANTED.
Defendant must answer, move, or otherwise respond to the Complaint by no later than Thursday, February
25, 2021. Additionally, Defense counsel must file a Notice of Appearance promptly.

 SO ORDERED.



                            Date: January 27, 2021
 HON. VALERIE CAPRONI
 UNITED STATES DISTRICT JUDGE


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